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                                                         Exhibit A to the Complaint
Location: Gainesville, VA                                                                          IP Address: 108.18.217.75
Total Works Infringed: 30                                                                          ISP: Verizon Fios
 Work      Hashes                                                               UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                           08-24-     Blacked        05-09-2020    06-08-2020   PA0002243649
           97880145CFEA3FE287209CB3C129283A31F94742                             2021
           File Hash:                                                           11:05:14
           4C04123FCED7D1E20F34577C04F0C7714F60FC139D4CA4BEA466153B12A9EC93
 2         Info Hash:                                                           08-24-     Blacked        12-28-2019    01-27-2020   PA0002223954
           A7AAF97D12C26B842005B3B598A676AA6EEFB0E9                             2021       Raw
           File Hash:                                                           04:45:37
           7D0CF6B213FFDDD9CD1381341C2C4434295E0DA8750B01ECFEBEF1D7136E3A2D
 3         Info Hash:                                                           08-24-     Blacked        04-18-2020    05-19-2020   PA0002241472
           66775C7111D44FD8FA18B2068E80CE6DF332E362                             2021
           File Hash:                                                           04:45:37
           C20360AF1040FC97AA6206D79BD697D3A701B291FCAAE7F0F3C950D8A558569C
 4         Info Hash:                                                           08-24-     Vixen          10-30-2020    11-18-2020   PA0002272620
           C7A42FE42017E6C151260FAF891792B447535F96                             2021
           File Hash:                                                           01:42:11
           15DEACAA6CC03F75A8326B0296CB81A02305D5AD15E7E56B71AD311B8D354249
 5         Info Hash:                                                           07-18-     Vixen          07-16-2021    09-21-2021   PA0002312673
           31524D6F150D0602C2264F65ABC600230D982467                             2021
           File Hash:                                                           18:42:32
           F3924B555A394239A2E59176A1FFCC5E5484C258A9825626F460E6CA44E55BB3
 6         Info Hash:                                                           07-11-     Vixen          07-02-2021    08-20-2021   PA0002312015
           643DD50B33A81DF75C5B7DD8D7866E07FD9DFC17                             2021
           File Hash:                                                           15:57:29
           77BC0123052B599BAAD164A646A2EE852B2B2EB3CB2B564307EA54FF47FA1650
 7         Info Hash:                                                           06-12-     Tushy          05-23-2021    06-15-2021   PA0002296928
           04EC7CF28003370BB315646B0C1F550DFDDF9E0F                             2021
           File Hash:                                                           20:15:05
           0A9B2A5777170C5F65B67FF48F10B427194325E88F197B62CD1820CD2688D768
 8         Info Hash:                                                           05-31-     Blacked        05-15-2021    06-09-2021   PA0002295594
           96F2A2FE54897C6976D99571A34F3D62FA7BFC40                             2021
           File Hash:                                                           12:38:28
           B0ABB2EA184172B37654EB0615A31E39CFE0E51A68B97C7F3A549363D5362508
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         05-24-     Vixen     05-07-2021   06-24-2021   PA0002303619
       C9F2EAA7431A81519E228742010D25556A0875D5                           2021
       File Hash:                                                         23:07:55
       52BB4F2D8D337F98C64B52728F50CC525480EFC9F651D1D04340E683E0F9CF15
10     Info Hash:                                                         05-20-     Tushy     05-02-2021   06-15-2021   PA0002296917
       3B6B9B6AA295154AC631FA1D04871871FC4149E3                           2021
       File Hash:                                                         03:51:31
       E0455D6CBCB2271C3B7B503B3579083163DFB2F6CBB6DE69E52A1FA982E39178
11     Info Hash:                                                         05-10-     Vixen     04-16-2021   06-09-2021   PA0002295602
       7C1C37E0ABC8D85BE517AD60BED3A751831AD194                           2021
       File Hash:                                                         20:05:42
       02B459167F92D8A130C444F9A7BA878D125BA893D83E1BF1593326B653BF07E7
12     Info Hash:                                                         04-16-     Vixen     12-18-2020   01-04-2021   PA0002277038
       0D5B6408CD5A4E9A3F0EDDFC70132D50DADCD490                           2021
       File Hash:                                                         02:41:05
       943745529655B8E53501354C4A078E721EBFC530CCFE189770B91C7A0C5F4547
13     Info Hash:                                                         04-16-     Vixen     01-01-2021   02-02-2021   PA0002281154
       332EBAD1AD7EBE13048CC30ACF98ED5D60158D90                           2021
       File Hash:                                                         02:39:45
       28D84F1A51123CB154FF50DEDE21C81B975F0CAC39EFAE056A6B97E66DC5DA88
14     Info Hash:                                                         04-16-     Vixen     03-12-2021   03-22-2021   PA0002282506
       62E73C9CC3859E160F8473FDC0F45C658CB634C1                           2021
       File Hash:                                                         02:39:07
       A39899E58E10ECBDF7B877D0504FFDA842067080A27FEC528CBA672B8FF67737
15     Info Hash:                                                         04-16-     Vixen     02-12-2021   02-26-2021   PA0002283718
       EF0EB102F917E5F83AF9D3DB48FB95AFFC60A311                           2021
       File Hash:                                                         02:38:56
       4CF124B87DF1DD1F8560390202781E9F8F01665ED5EAA22270B428ECA34656E9
16     Info Hash:                                                         04-16-     Vixen     12-11-2020   01-04-2021   PA0002277039
       E7D41B393BCF89E7C36EBB27F3211E3CA0AB7754                           2021
       File Hash:                                                         02:37:10
       36FC2107476436C6648C54AE49DC8373F278FFDF278F73F610412A94C6243CC0
17     Info Hash:                                                         01-22-     Blacked   11-28-2020   12-28-2020   PA0002269083
       A5FE80F87C19CB5825283CDADB2CEEA147462E52                           2021
       File Hash:                                                         02:44:03
       A4715423738C9BC0E614DAB6564B71ABD125A7F02EDE7DCCD88A942E197AD133
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         01-22-     Blacked   11-30-2020   01-04-2021   PA0002277037
       8CD924715A479D3D0E91C3B0E62BC25E883E62E5                           2021       Raw
       File Hash:                                                         02:43:25
       BDBCDF434CF419496FF3E8D769526E3BA168CCF989EE165CA197276A53CE6F04
19     Info Hash:                                                         12-13-     Tushy     08-02-2020   08-31-2020   PA0002265633
       FE05CB8A8DFB2D136503E31855AF6EBCF985438B                           2020
       File Hash:                                                         03:54:19
       81C541850E9CF441830E9C3C3AFBEC34C89F1F9758235261ABD66C7DE38B2422
20     Info Hash:                                                         12-11-     Vixen     07-24-2020   08-03-2020   PA0002259166
       37BBF4B3BBD911460EEA7065A691494A1860C65D                           2020
       File Hash:                                                         01:09:12
       C7610656C831F4141B67EB2AE560AE0FBF59FE9B8E29DA44C8E6BECF3D9D80CF
21     Info Hash:                                                         11-18-     Vixen     07-10-2020   07-20-2020   PA0002248961
       67C60EE5480FBF04F89550299EA194C97B59E3DB                           2020
       File Hash:                                                         06:19:33
       54BFB29CA6468D8D0A6907DFB9B14A5F01D633710A4C689FD1DFE838884AAD61
22     Info Hash:                                                         11-18-     Vixen     06-26-2020   08-03-2020   PA0002259094
       D7C9338ADA5F41D95C7710D4E2CCAE9BA27DEEAC                           2020
       File Hash:                                                         03:14:08
       AE0627F45435772B5EF6DDA414C0A6C0FF64CFFA99F45D076657900CD0CC484E
23     Info Hash:                                                         07-13-     Vixen     01-29-2020   02-20-2020   PA0002229058
       96941E19BA4280C7FD3D9A7D0E3E05527855C742                           2020
       File Hash:                                                         02:52:11
       BC78D943FC7055C5921788D2DEC3EB2E61F9EF8C3E67BD7711CD41D2924FC35E
24     Info Hash:                                                         07-12-     Vixen     03-20-2020   04-17-2020   PA0002246116
       00E840E537F0F15913CC7B566D0D89C11D8C5635                           2020
       File Hash:                                                         23:37:15
       F0DF5BD192A53D203EEA1E543E431CF2A6C8203858E9765BF2D33688739B8821
25     Info Hash:                                                         07-09-     Vixen     01-14-2020   02-03-2020   PA0002236203
       0D7971F367C9757DFC6E86BCF2981D1636176C47                           2020
       File Hash:                                                         20:44:38
       384EC61B39A70DC9BB54288B9CF82B4BD22783FE903533CD1190A892FB21053A
26     Info Hash:                                                         07-09-     Vixen     04-10-2020   05-05-2020   PA0002249031
       34B5C38E8101115145B1F5F14CA1DEAE215F44F5                           2020
       File Hash:                                                         17:42:05
       DE48555708696E7EA49FB4A3BD9F0872DD46C167BD4DC4DA95D24F2E149FAC1B
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         07-09-     Vixen     03-27-2020   04-17-2020   PA0002246166
       072DB941161143E9AA368757C889D3FB439FFE9A                           2020
       File Hash:                                                         14:37:55
       7D72CD247A2F9BC5FA229CDAB4B8B7B0E20783E29C3C316F646DCC1CDB485492
28     Info Hash:                                                         06-26-     Vixen     05-29-2020   06-16-2020   PA0002253260
       BBA0DBE4481F7041DE4C68862EAA0B23F3288AF8                           2020
       File Hash:                                                         20:22:11
       91449A88E3080ECAE78FC71112A0882A3119E4D9BD129D2A4B1620764C4BED39
29     Info Hash:                                                         06-22-     Vixen     06-19-2020   06-25-2020   PA0002256361
       393CA489158B51872CFB9DF8AF515AF3B8BEA3A8                           2020
       File Hash:                                                         03:33:19
       472F90B9B7A56328A4C2ACB06485F82520C9F4C49899B781D1B54E498E3A1ADB
30     Info Hash:                                                         05-06-     Blacked   05-04-2020   05-19-2020   PA0002241475
       70F3BF93C30E3D32E1EDAA9114389163A125D73A                           2020       Raw
       File Hash:                                                         02:48:19
       2458FF512E1D830F6C22FB432E82916941CECAFFC86334D4E65AE6C7B8CD4756
